             Case 8:19-bk-10520-RCT      Doc 28    Filed 06/23/21    Page 1 of 4

                                     ORDERED.


   Dated: June 22, 2021




                        UNITED STATES BANKRUPTCY COURT
                           MIDDLE DISTRICT OF FLORIDA
                                 TAMPA DIVISION
                                www.flmb.uscourts.gov


In re:                                                   Case No.: 8:19-bk-10520-RCT
                                                         Chapter 7
Gary Key and
Ramona Key,
         Debtors.
                            /


      ORDER GRANTING TRUSTEE’S MOTION TO APPROVE A SHORT
     SALE OF REAL PROPERTY FREE AND CLEAR OF LIENS, CLAIMS,
ENCUMBRANCES, AND INTERESTS PURSUANT TO 11 U.S.C. § 363(b), (f), AND (m)
         THIS PROCEEDING came on for hearing on June 15, 2021, 2021 to consider

Chapter 7 Trustee, Traci Stevenson’s (“Trustee”) Motion to Sell Real Property Free and Clear

of Liens (the “Motion”) (Doc. 21). For the reasons stated on the record at the hearing,

accordingly it is
            Case 8:19-bk-10520-RCT           Doc 28      Filed 06/23/21     Page 2 of 4




       ORDERED:

       1.      The Motion (Doc. 21) is GRANTED.

       2.      The Trustee is authorized to sell the real property located at:

       Lot 10, Block 5, Hill 'N Dale Unit #1, according to the map or plat thereof, as recorded in
       Plat Book 6, Page(s) 84, of the Public Records of Hernando County, Florida.

       more commonly known as, 27276 Warner Ave Brooksville, FL 34602 (the “Real

Property”), conditioned on the consent of its lienholder(s), and in accordance with the terms

provided for in the Motion.

       3.      The Trustee is authorized to pay the secured mortgage creditor, The USDA Rural

Development Home Loans, (also known as “Secured Creditor”) the full amount of their lien as of

the date of closing or other amount agreeable to the Secured Creditor to release their lien.

       4.      The Trustee is authorized to take any all actions and to execute any and all

documents necessary and appropriate to effectuate and consummate the terms of said sale,

including, executing a deed conveying the interests of the Debtor in the Real Property to Ketan

Patel (the “Buyer”).

       5.      Pursuant to Section 363(f) of the Bankruptcy Code, effective upon closing, the

sale of the Real Property will vest in the Buyer(s) all right, title and interest of the Debtors and

the bankruptcy estate in the Real Property, free and clear of the liens, claims or interests listed

below (collectively, the “Affected Interests”):

                       a.      Gary Key, & Ramona Key, Debtors, name on deed
                       b.      USDA Rural Development Home Loans, mortgage lienholder




                                                  2
            Case 8:19-bk-10520-RCT          Doc 28     Filed 06/23/21      Page 3 of 4




       6.      This Order is and shall be effective as a determination that, upon and subject to

the occurrence of the closing of the sale, all Affected Interests have been and hereby are

adjudged and declared to be unconditionally released as to the Real Property.

       7.      The Buyers have not assumed any liabilities of the Debtor.


       8.      The Trustee, and any escrow agent upon the Trustee’s written instruction, shall be

authorized to make such disbursements on or after the closing of the sale as are required by the

purchase agreement or order of this Court, including, but not limited to, (a) all delinquent real

property taxes and outstanding post-petition real property taxes pro-rated as of the closing with

respect to the real property included among the purchased assets; and (b) other anticipated

closing costs (estimated below):

       Total Sales/Brokers Commission:
       2% to Coldwell Banker Realty                                          $2,420.00
       2% to Coldwell Banker                                                 $2,420.00
       2% to BK Global Real Estate Services                                  $2,420.00
       Title Charges:                                                        $3,059.74
       Other / Debits                                                        $4,160.15
       (incl. 506(c) surcharge, Trustee Liability Insurance)
       Satisfaction of Liens:
       The Federal Savings Bank (home mortgage servicer)                     $102,120.11
       Hernando County Housing Authority                                     $2,500.00


Without further order of the court, the Trustee is authorized to pay closing costs in amounts

different than the estimated amounts described above so long as they are within industry standard



                                                 3
               Case 8:19-bk-10520-RCT        Doc 28     Filed 06/23/21      Page 4 of 4




and with the consent of the lienholder, Secured Creditor and applicable home owners

association.

       9.        Except as otherwise provided in the Motion, the Real Property shall be sold,

transferred, and delivered to Buyers on an “as is, where is” or “with all faults” basis.

       10.       Buyer is approved as a buyers in good faith in accordance with Section 363(m) of

the Bankruptcy Code, and Buyer shall be entitled to all protections of Section 363(m) of the

Bankruptcy Code.

       11.       This Court retains jurisdiction to enforce and implement the terms and provisions

of this Order and the purchase agreement, all amendments thereto, any waivers and consents

thereunder, and each of the documents executed in connection therewith in all respects, including

retaining jurisdiction to (a) compel delivery of the Real Property to the Buyer(s), (b) resolve any

disputes arising under or related to the purchase agreement, and (c) resolve any disputes

regarding liens, claims, or interests asserted against the Real Property.

       12.       The purchase agreement and any related documents or other instruments may be

modified, amended or supplemented by the parties thereto, in a writing signed by both parties

without further order of the Court, provided that any such modification, amendment or

supplement does not have a material adverse effect on the Debtors’ bankruptcy estate.



Trustee Traci K. Stevenson, is directed to serve a copy of this order on interested parties who do
not receive service by CM/ECF and file a proof of service within three days of entry of this
order.




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